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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


MATTHEW ANDREW GARCES, ON                         §
BEHALF OF MIGUEL CONTRERAS,                       §
JR.;                                              §                SA-25-CV-00539-OLG
                                                  §
                   Plaintiff,                     §
                                                  §
vs.                                               §
                                                  §
MIGUEL CONTRERAS SR., SYLVIA                      §
CONTRERAS, LITTLE CAESAR'S                        §
PIZZA,                                            §
                                                  §
                   Defendants.

                    REPORT AND RECOMMENDATION AND ORDER
                      OF UNITED STATES MAGISTRATE JUDGE

To the Honorable United States District Judge Orlando L. Garcia:

       Before the Court in the above-styled cause of action is Plaintiff’s Application to Proceed

in District Court Without Prepaying Fees or Costs [#1] and proposed complaint [#1-1]. This case

was automatically referred to the undersigned upon filing, and the undersigned has authority to

enter this order and report and recommendation pursuant to 28 U.S.C. § 636(b)(1). By his

motion, Plaintiff seeks leave to proceed in forma pauperis (“IFP”) based on his inability to afford

court fees and costs. Having considered the motion and documentation provided by Plaintiff, the

undersigned will grant the motion but recommend the District Court dismiss this case for lack of

subject matter jurisdiction.

                                    I. Motion to Proceed IFP

       All parties instituting any civil action, suit, or proceeding in a district court of the United

States, except an application for a writ of habeas corpus, must pay a filing fee of $350, as well as




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an administrative fee.1 See 28 U.S.C. § 1914(a). Plaintiff’s motion to proceed IFP includes his

income and asset information, which indicates that Plaintiff is unemployed and does not have

sufficient monthly resources available to pay the filing fee. The Court will therefore grant his

motion to proceed IFP.

                               II. Review Under Section 1915(e)

       Pursuant to the Court’s October 8, 2019 Standing Order, the undersigned has also

reviewed Plaintiff’s proposed Complaint under the standards set forth in Section 1915(e).

       Pursuant to 28 U.S.C. § 1915(e), this Court may screen any civil complaint filed by a

party proceeding in forma pauperis to determine whether the claims presented are (1) frivolous

or malicious; (2) fail to state a claim on which relief may be granted; or (3) seek monetary relief

against a defendant who is immune from such relief. See 28 U.S.C. § 1915(e)(2)(B). This Court

also has an ongoing obligation to evaluate its subject matter jurisdiction. See Gonzalez v. Thaler,

565 U.S. 134, 141 (2012). For the reasons that follow, the undersigned recommends this case be

dismissed for lack of subject matter jurisdiction and for failing to state a claim on which relief

may be granted.

       Plaintiff attempts to bring claims on behalf of his brother, Miguel Contreras Jr., who he

states is a “40-year-old schizophrenic U.S. Marine veteran, under the guardianship of”

Defendants Miguel Contreras, Sr. and Sylvia Contreras (“the Guardian Defendants”). (Proposed

Compl. [#1-1], at 1.) Plaintiff claims to have medical power of attorney for his brother.

(Proposed Compl. [#1-1], at 7–9.)




       1
         The administrative fee, which is currently $55, is waived for plaintiffs who are granted
IFP status. See District Court Miscellaneous Fee Schedule, available at
http://www.uscourts.gov/services-forms/fees/district-court-miscellaneous-fee-schedule.
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       According to Plaintiff, on May 14, 2025, the Guardian Defendants “forced Miguel Jr. to

wait in a black truck at Miguel Sr.’s workplace” in extremely hot weather. Defendant Little

Caesar’s Pizza is Miguel Sr.’s workplace. Plaintiff alleges that Little Caesar’s denied Miguel Jr.

“access to the facility’s benefits (e.g., cooling, safety) due to his disability, forcing him into

hazardous conditions.” Plaintiff asserts violations of the Americans with Disabilities Act against

Little Caesar’s, as well as adult neglect/abuse and intentional infliction of emotional distress

under state law against the Guardian Defendants.

 A.    Plaintiff’s Claims Against Little Caesar’s

       First, Plaintiff may not sue Little Caesar’s on his brother’s behalf. Under Fifth Circuit

precedent, the capacity to sue on behalf of an individual deemed legally incapacitated is

governed by the law of the state where the court is located—in this case, Texas. Rideau v. Keller

Indep. Sch. Dist., 819 F.3d 155, 163 (5th Cir. 2016). Under Texas law, when a person has been

declared incapacitated and a guardian has been appointed, “[a]bsent a showing of conflict,” only

that guardian may bring a lawsuit on behalf of the ward. Id. at 164–65 (first citing In re Archer,

203 S.W.3d 16, 21 (Tex. App.—San Antonio 2006, pet. denied); then citing Brown v. Midland

Nat’l Bank, 268 S.W. 226, 228 (Tex. Civ. App.—El Paso, writ ref’d); and then citing Howell v.

Thompson, No. 11-09-00340-CV, 2011 WL 664763, at *2 (Tex. App.—Eastland, Feb. 24, 2011,

no writ)). See also Tex. Est. Code § 1151.04 (allowing guardians to commence lawsuits on

behalf of a ward). Indeed, in Rideau itself, the Fifth Circuit held that parents could not bring

Americans with Disabilities Act claims on behalf of their child who had a guardian. Rideau, 819

F.3d at 164–165. Thus, even assuming Little Caesar’s did violate the Americans with Disabilities

Act by not allowing him entry on account of his disabilities, the Guardian Defendants are the

only ones with the capacity to sue on Miguel Jr.’s behalf.



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      Plaintiff may argue that he has medical power of attorney and therefore does have the right

to sue on behalf of his brother. For one, it appears that Miguel Jr. has been deemed legally

incompetent, as Plaintiff has represented that guardians were appointed for Miguel Jr. An

incompetent adult cannot grant someone medical power of attorney; the document attached to

the proposed complaint is therefore void. See Dexter v. Hall, 82 U.S. 9, 20–26 (1872)

(explaining that a contract made a legally incompetent person is void). Moreover, even if the

contract assigning Plaintiff medical power of attorney were valid, it would solely grant Plaintiff

with the power to make medical decisions on Miguel Jr.’s behalf—not the power to represent

him in court as a non-attorney.2 Thus, Plaintiff’s claims against Little Caesar’s should be

dismissed.

B.     Plaintiff’s Claims Against the Guardian Defendants

       Plaintiff asserts claims against the Guardian Defendants for “Adult Neglect/Abuse” and

Intentional Infliction of Emotional Distress. (Proposed Compl. [#1-1], at 4.) He asks for

damages, a declaratory judgment that they engaged in illegal adult neglect/abuse, injunctive

relief including guardianship review, and costs.

       Unlike for Plaintiff’s claims against Little Caesar’s, which must be brought by Miguel

Jr.’s guardian, the Guardian Defendants have a conflict with bringing claims against themselves.

These claims, however, should be dismissed for a different reason. Because the claim under the

Americans with Disabilities Act should be dismissed, there would be no remaining federal cause

of action in this lawsuit. In the Fifth Circuit, the general rule is that a court “should decline to

exercise jurisdiction over remaining state-law claims when all federal-law claims are eliminated


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         A person may represent themselves pro se, but a non-attorney cannot represent another
person. 28 U.S.C. § 1654; Gonzalez v. Wyatt, 157 F.3d 1016, 1021 (5th Cir. 1998) (“[I]n federal
court a party can represent himself or be represented by an attorney, but cannot be represented by
a nonlawyer.”).
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before trial.” Manyweather v. Woodlawn Manor, Inc., 40 F.4th 237, 246 (5th Cir. 2022) (quoting

Heggemeier v. Caldwell Cnty., 826 F.3d 861, 872 (5th Cir. 2016) (per curiam)). The Court

should follow that general rule here and not exercise jurisdiction over Plaintiff’s state-law claims

against the Guardian Defendants.

       Moreover, the area of probate—including guardianships—is one generally committed to

state courts. See Hines v. Stein, 298 U.S. 94, 98 (1936) (“Authority of the state courts over

guardians for incompetents is thus definitely recognized.”). Texas state courts’ expertise in

guardianships is especially significant in cases like this one, where one of Plaintiff’s sought-after

remedies is “guardianship review.” A federal court may not review guardianship instituted by a

state court. The Rooker-Feldman doctrine establishes that a federal court lacks subject matter

jurisdiction when issues in federal court are “inextricably intertwined” with a final state court

judgment. Davis v. Bayless, 70 F.3d 367, 375 (5th Cir. 1995). The Fifth Circuit has repeatedly

recognized that the Rooker-Feldman doctrine applies when “the plaintiff seeks the review and

rejection of a state court judgment.” Saloom v. Tex. Dep’t of Family & Child Protective Servs.,

578 Fed. App’x 426, 428–29 (5th Cir. 2014). This Court therefore does not have jurisdiction

over Miguel Jr.’s guardianship. If Plaintiff believes the Guardian Defendants should be removed

as the guardians of his brother, the appropriate forum in which to litigate this is the state court

that appointed them as his guardians. Accordingly, Plaintiff’s case should be dismissed for lack

of subject matter jurisdiction and failure to state a claim on which relief can be granted.

                              III.    Order and Recommendation

       For the foregoing reasons, IT IS HEREBY ORDERED that Plaintiff’s Application to

Proceed in District Court Without Prepaying Fees or Costs [#1] is GRANTED.




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       Additionally, having considered Plaintiff’s Proposed Complaint [#1-1] under the

standards set forth in 28 U.S.C. §1915(e), the undersigned recommends that this case be

DISMISSED for lack of subject matter jurisdiction and for failure to state a claim upon which

relief can be granted.

             IV.    Instructions for Service and Notice of Right to Object/Appeal

       The United States District Clerk shall serve a copy of this report and recommendation on

all parties by either (1) electronic transmittal to all parties represented by attorneys registered as

a “filing user” with the clerk of court, or (2) by mailing a copy to those not registered by certified

mail, return receipt requested. Written objections to this report and recommendation must be

filed within fourteen (14) days after being served with a copy of same, unless this time period is

modified by the district court. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). The party shall file

the objections with the clerk of the court, and serve the objections on all other parties. A party

filing objections must specifically identify those findings, conclusions or recommendations to

which objections are being made and the basis for such objections; the district court need not

consider frivolous, conclusive or general objections. A party’s failure to file written objections

to the proposed findings, conclusions and recommendations contained in this report shall bar the

party from a de novo determination by the district court. Thomas v. Arn, 474 U.S. 140, 149–52

(1985); Acuña v. Brown & Root, Inc., 200 F.3d 335, 340 (5th Cir. 2000). Additionally, failure to

file timely written objections to the proposed findings, conclusions and recommendations

contained in this report and recommendation shall bar the aggrieved party, except upon grounds

of plain error, from attacking on appeal the unobjected-to proposed factual findings and legal

conclusions accepted by the district court. Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415,

1428–29 (5th Cir. 1996) (en banc).



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SIGNED this 9th day of June, 2025.




                            ELIZABETH S. ("BETSY") CHESTNEY
                            UNITED STATES MAGISTRATE JUDGE




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